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 1                                                      JUDGE RONALD B. LEIGHTON
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 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT TACOMA
 7
     UNITED STATES OF AMERICA,                  )   NO. CR05-5823RBL
 8                                              )
                     Plaintiff,                 )   ORDER SEALING DEFENDANT’S
 9                                              )   SENTENCING MEMORANDUM
                     vs.                        )
10                                              )
     JACOB GARDNER,                             )
11                                              )
                     Defendant.                 )
12                                              )
13
            The Court having considered the Motion for Order Sealing Defendant’s
14
     Sentencing Memorandum and attachments thereto,
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            NOW THEREFORE IT IS HEREBY ORDERED that the Defendant’s
16
     Sentencing Memorandum and attachments thereto, are to be sealed.
17
            DONE this 23rd day of July, 2007.
18

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                                      A
                                      RONALD B. LEIGHTON
     Presented by:                    UNITED STATES DISTRICT JUDGE
21
     /s______________________
22 Russell V. Leonard
     Attorney for Defendant
23

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25

26

                                                                    FEDERAL PUBLIC DEFENDER
                                                                               1331 Broadway , Suite 400
                                                                             Tacoma, Washington 98402
     ORDER SEALING – page 1                                                              (253) 593-6710
